900 F.2d 252Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel Wayne GUY, Plaintiff-Appellant,v.STATE of NORTH CAROLINA;  John Wyatt Dickson;  Cape FearValley Hospital;  E. Lynn Johnson;  EdwardGrannis, Defendants-Appellees.
    No. 89-6362.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 16, 1990.
    
      Appeal from the United States District Court for the District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (C/A No. 88-934-CRT).
      Samuel Wayne Guy, appellant pro se.
      Jacob Leonard Safron, Office of the Attorney General of North Carolina, for appellees.
      D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Samuel Wayne Guy appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Guy v. State of North Carolina, C/A No. 88-934-CRT (E.D.N.C. Nov. 14, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    